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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF INDIANA
                                      FORT WAYNE DIVISION

 IN THE MATTER OF:                                          )
                                                            )
 BETTY JO SCHAEFER                                          )     CASE NO. 18-10519
                                                            )     Chapter 7
                             DEBTORS.                       )
                                                            )


                                         CERTIFICATE OF SERVICE

         Martin E. Seifert, Trustee, certifies that on the 29th day of October, 2018, a true and correct

copy of the attached Notice of Motion and Opportunity to Object was served, via the court’s

electronic case filing system, or first-class U.S. Mail, postage prepaid, to those creditors and

interested parties listed on the attached sheet(s).

                                                                  Respectfully submitted,

                                                                  CHAPTER 7 TRUSTEE
                                                                  444 EAST MAIN STREET
                                                                  FORT WAYNE, INDIANA 46802
                                                                  TELEPHONE: (260) 426-0444
                                                                  FAX: (260) 422-0274
                                                                  EMAIL: mseifert@hallercolvin.com

                                                                  BY:/s/ Martin E. Seifert
                                                                      MARTIN E. SEIFERT
                                                                      I.D. #16857-02




C:\Tes\TFR-Assembly\55BBAD74-D06A-4F9B-8884-D94BFD1C61E7\COS NOTICE APP TO EMPLOY BKGLOBAL.WPD.1
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 IN THE MATTER OF:                               )
                                                 )
 BETTY JO SCHAEFER                               )     CASE NO. 18-10519
                                                 )     Chapter 7
                        DEBTORS.                 )
                                                 )

                 NOTICE OF MOTION AND OPPORTUNITY TO OBJECT

        On October 29, 2018, Martin E. Seifert, Trustee, filed his Application to Retain BK Global
Real Estate Services and Coldwell Banker Roth Wehrly Graber to Procure Consented Public Sale
Pursuant to 11 U.S.C. §§ 327, 328 and 330 asking the Court to authorize the Trustee to hire BK
Global and Roth Wehrly Graber as realtors for the sale of real estate commonly known as 15333
Towne Gardens Ct., Huntertown, Indiana 46748 owned by the Debtor and to pay administrative
expenses upon sale of the real estate pursuant to the Listing Contract. A copy of the Application is
attached.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney. If you do not have an attorney, you may wish to consult one.

        If you do not want the Court to grant the motion, then on or before November 19, 2018, you
or your attorney must:

        1.       File a written objection to the motion, which should explain the reasons why you
object, with the Clerk of the United States Bankruptcy Court at:

                       1300 South Harrison Street
                       Fort Wayne, Indiana 46802

       If you mail your response to the Court, you must mail it early enough so that it will be
received by the date it is due.

       2.      You must also mail a copy of your objection to:

                       Martin E. Seifert, Trustee
                       444 East Main Street
                       Fort Wayne, Indiana 46802

                       U.S. Trustee
                       555 One Michiana Square
                       100 East Wayne Street
                       South Bend, Indiana 46601
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                              Steven J. Glaser, Esq.
                              Glaser & Ebbs
                              132 East Berry Street
                              Fort Wayne, Indiana 46802

       If you do not file an objection by the date it is due, the Court may grant the relief requested
without holding a hearing. If you do file an objection, the Court will set the motion for hearing,
which you or your attorney will be expected to attend.

          DATED: October 29, 2018

                                                                        Respectfully submitted,

                                                                        CHAPTER 7 TRUSTEE
                                                                        444 EAST MAIN STREET
                                                                        FORT WAYNE, INDIANA 46802
                                                                        TELEPHONE: (260) 426-0444
                                                                        FAX: (260) 422-0274
                                                                        EMAIL: mseifert@hallercolvin.com

                                                                        BY:/s/ Martin E. Seifert
                                                                            MARTIN E. SEIFERT
                                                                            I.D. #16857-02




C:\Tes\TFR-Assembly\55BBAD74-D06A-4F9B-8884-D94BFD1C61E7\Notice App to Employ Realtor.WPD
                                                               -2-
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Label Matrix for local noticing Case 18-10519-reg      DocCommunity
                                             Above & Beyond  25 Filed       10/29/18
                                                                       Management                 Page 25
                                                                                                       AllenofCounty
                                                                                                                26 Treasurer
0755-1                                       507 Airport North Office Park                                1 East Main Street Suite 104
Case 18-10519-reg                            Fort Wayne, IN 46825-6705                                    Fort Wayne IN 46802-1888
Northern District of Indiana
Fort Wayne Division
Fri Oct 26 14:53:10 EDT 2018
Allen County Treasurer                       Amsher Collection Service                                    BLACK CREEK - GRAY GILL INC
P.O. Box 2540                                REP: T Mobile                                                1410 S CLINTON ST
Fort Wayne, IN 46801-2540                    4524 Southlake Parkway, Suite 15                             Chicago, IL 60607-5102
                                             Birmingham, AL 35244-3271


CAPITAL ONE BANK                                     CCC                                                  CHASE
PO BOX 1492                                          6100 N. KEYSTONE AVE. STE 647                        PO BOX 469030
Carol Stream, IL 60197                               Indianapolis, IN 46220-2430                          Denver, CO 80246-9030



DOYLE & FOUTTY                                       DUPONT HOSPITAL                                      FORT WAYNE RADIOLOGY
41 E. WASHINGTON STREET, STE 400                     2520 E DUPONT RD                                     LOCKBOX A20
Indianapolis, IN 46204-3517                          Fort Wayne, IN 46825-1675                            PO BOX 2601
                                                                                                          Fort Wayne, IN 46801-2601


GRABILL ESTATES                                      Nancy J. Gargula                                     Steven J. Glaser
13910 MAIN ST                                        100 East Wayne Street, 5th Floor                     132 E. Berry St
Grabill, IN 46741-2039                               South Bend, IN 46601-2349                            Fort Wayne, IN 46802-2401



INDIANA SURGICAL SPECIALISTS                         Indiana Department of Revenue                        JUSTIN BRAUN
1818 CAREW ST                                        Bankruptcy Section - MS 108                          435 HUFFMAN ST
Fort Wayne, IN 46805-4788                            100 North Senate Avenue, N240                        Fort Wayne, IN 46808-3222
                                                     Indianapolis IN 46204-2231


PARKVIEW PHYSICIANS CARDIOLOGY                       (p)PROFESSIONAL EMERGENCY PHYSICIANS INC             R. Scott Perry
PO BOX 2253                                          3640 NEW VISION DR                                   REP: Above & Beyond Community Mgt.
Fort Wayne, IN 46801-2253                            SUITE A                                              5532 St. Joe Rd.
                                                     FORT WAYNE IN 46845-1717                             Fort Wayne, IN 46835-3328


SALLIE MAE                                           (p)SPRINGLEAF FINANCIAL SERVICES                     Betty Jo Schaefer
PO BOX 4700                                          P O BOX 3251                                         15333 Towne Gardens Ct
Wilkes Barre, PA 18773                               EVANSVILLE IN 47731-3251                             Huntertown, IN 46748-9155



(p)T MOBILE                                          (p)TD BANKNORTH NA                                   WELTMAN WEINBERG & REIS
C O AMERICAN INFOSOURCE LP                           70 GRAY ROAD                                         525 VINE ST STE 800
4515 N SANTA FE AVE                                  FALMOUTH ME 04105-2299                               Cincinnati, OH 45202-3171
OKLAHOMA CITY OK 73118-7901




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
PROFESSIONAL EMERGENCY PHYSICIANS Case 18-10519-reg
                                               SPRINGLEAFDoc   25 Filed 10/29/18
                                                          FINANCIAL                Page 26  of 26
                                                                                        T Mobile
PO BOX 12949                                   LEO CROSSING                             P.O. Box 790047
Fort Wayne, IN 46866                           10376 LEO RD, STE E                      Saint Louis, MO 63179-0047
                                               Fort Wayne, IN 46825


TD BANK NORTH NA                            End of Label Matrix
OPERATIONS S CENTER                         Mailable recipients   26
PO BOX 8400                                 Bypassed recipients    0
Lewiston, ME 04243                          Total                 26
